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 7                                UNITED STATES DISTRICT COURT

 8                            EASTERN DISTRICT OF CALIFORNIA

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10   BRANDON JAQUAY HOLMES,                      CASE NO. 1:12-cv-01649-AWI-MJS (PC)
11                   Plaintiff,                  ORDER DENYING REQUESTS
12                                               REGARDING SETTLEMENT
           v.                                    AGREEMENT
13
     CHRISTIAN LEPE                              (ECF No. 49)
14
                     Defendant.
15

16         Plaintiff is a federal prisoner proceeding pro se and in forma pauperis in this civil

17   rights action brought pursuant to Bivens v. Six Unknown Named Agents of the Federal

18   Bureau of Narcotics, 403 U.S. 388 (1971). The action, now closed, concerned Plaintiff’s

19   Eighth Amendment excessive force claim against Defendant Lepe. (ECF Nos. 15 & 16.)

20         On January 28, 2015, counsel for Defendant Lepe filed a stipulation for dismissal

21   of the action with prejudice, signed by Plaintiff and defense counsel. (ECF No. 47.) On

22   February 2, 2015, the stipulation was approved, the action was dismissed with prejudice,

23   and the case was closed. (ECF No. 48.)

24         Before the Court is Plaintiff’s February 10, 2015 declaration containing various

25   requests to the Court. (ECF No. 49.) Plaintiff asks that the Court file the written

26   settlement agreement. He seeks dated signatures approving the settlement from the

27   undersigned and from Dennis Wong, Regional Counsel apparently involved in paying a

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     Case 1:12-cv-01649-AWI-MJS Document 50 Filed 02/26/15 Page 2 of 2


1    settlement to Plaintiff. Finally, he asks that the settlement funds agreed upon be paid

2    within thirty days.

3           This action was dismissed with prejudice pursuant to the parties’ signed

4    stipulation. Fed. R. Civ. P. 41(a)(1)(A)(ii). To the extent Plaintiff seeks enforcement of the

5    settlement agreement, the Court lack jurisdiction. Kokkonen v. Guardian Life Ins. Co. of

6    Am., 511 U.S. 375 (1994). The stipulation does not contain any provisions regarding the

7    Court’s retention of jurisdiction, and neither “Rule [41(a)(1)(A)(ii) nor any provision of law

8    provides for jurisdiction of the court over disputes arising out of an agreement that

9    produces a stipulation.” Id. at 378. Any enforcement of the settlement agreement is a

10   matter for state court. Id. at 382.

11          Accordingly, Plaintiff’s requests are HEREBY DENIED and this case remains

12   CLOSED.

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     IT IS SO ORDERED.
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15   Dated: February 26, 2015
                                              SENIOR DISTRICT JUDGE
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